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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

UNITED STATES OF AMERICA and the
STATES OF CALIFORNIA, COLORADO,

CONNECTICUT, DELAWARE, DISTRICT

OF COLUMBIA, FLORIDA, GEORGIA,
HAWAII, ILLINOIS, INDIANA, IOWA,
LOUISIANA, MARYLAND,
MASSACHUSETTS, MICHIGAN,
MINNESOTA, MONTANA, NEVADA,
NEW HAMPSHIRE, NEW JERSEY, NEW
MEXICO, NEW YORK, NORTH
CAROLINA, OKLAHOMA, RHODE
ISLAND, TENNESSEE, TEXAS,
VERMONT, and WASHINGTON, and the
COMMONWEALTHS OF
MASSACHUSETTS and VIRGINIA, and
the DISTRICT OF COLUMBIA,

FILED

FEB 25 2901

CHIEF JUDGE REBECCA R PALLMEVER

UNITED STATES DISTRICT COURT

No. 17 C 6316
Chief Judge Pallmeyer

FILED IN CAMERA AND UNDER
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ex rel. ELIZABETH A. ZELLNER, )

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Plaintiffs, )

)

Vv. )

)

MEDLINE INDUSTRIES, INC., )
)
)

Defendant.

UNITED STATES’ NOTICE OF ELECTION TO DECLINE INTERVENTION

 

The United States of America, by John R. Lausch, Jr., United States Attorney for the
Northern District of [linois, hereby notifies the court pursuant to the False Claims Act, 31 U.S.C.
§ 3730(b)(4)(B), of its decision not to intervene in this action, and states:

1. Although the United States declines to intervene, we refer the court to 31 U.S.C. §
3730(b)(1), which allows the relator to maintain the action in the name of the United States;
providing, however, that the “action may be dismissed only if the court and the Attorney General

give written consent to the dismissal and their reasons for consenting.” Jd. Therefore, the United
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States requests that, should either the relator or the defendant propose that this action be dismissed,
settled, or otherwise discontinued, this court solicit the written consent of the United States before
ruling or granting its approval.

2. The United States does not presently know whether the relator will proceed with
some or all of the claims in this action.

3, Pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all pleadings
filed in this action be served upon it. The United States also requests that orders issued by the
court be sent to counsel] for the United States. The United States reserves its right to order any
deposition transcripts, to intervene in this action, for good cause, at a later date, and to seek the
dismissal of the relator’s action or claim.

4. The United States also requests that it be served with all notices of appeal.

5. Finally, the United States also requests that the relator’s complaint, this notice, and
the attached proposed order be unsealed. The United States requests that all other papers on file
in this action remain under seal because in discussing the content and extent of the United States’
investigation, such papers are provided by law to the court alone for the sole purpose of evaluating
whether the seal and time for making an election to intervene should be extended.

6. The states that have been named in the complaint concur with the United States’
decision not to intervene in this action. The State of Maryland requests that all claims asserted on
behalf of the State of Maryland be dismissed without prejudice. The Maryland False Health
Claims Act provides that “If the State does not elect to intervene and proceed with the action...
before unsealing the complaint, the court shall dismiss the action.” Md. Code Ann., Health Gen, §

2-604 (a)(7).
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7. A proposed order accompanies this notice.

Dated: February 25, 2021

Respectfully submitted,

JOHN R. LAUSCH, Jr.
United States Attorney

By: _/s/ Virginia O. Hancock
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